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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY

  ----------------------------------------------X
  BARRETT FINANCIAL OF NORTH                            Case No.: 3:13-cv-05621-AET-TJB
  JERSEY LLC,
                                     Plaintiff,
                     v.

  CREATIVE FINANCIAL GROUP OF
  NEW JERSEY,
                                     Defendant.
  ----------------------------------------------X
  BARRETT FINANCIAL OF NORTH
  JERSEY LLC and EDWARD P.
  BARRETT,
                         Plaintiffs-Counterclaim Case No.: 3:14-cv-3316-AET-TJB
                                       Defendants,
                     v.

  NEW ENGLAND LIFE INSURANCE
  COMPANY,

            Defendant-Counterclaim Plaintiff.
  ----------------------------------------------X

       STIPULATION OF VOLUNTARY DISCONTINUANCE WITH PREJUDICE

        IT IS HEREBY STIPULATED AND AGREED, by and between Plaintiffs Edward
 Barrett and Barrett Financial of North Jersey LLC, and Defendants New England Life Insurance
 Company and Creative Financial Group of New Jersey, through their undersigned counsel, that all
 claims alleged as against all parties in the above-captioned cases are dismissed with prejudice,
 with each party to bear its own fees and costs.
        IT IS HEREBY FURTHER STIPULATED AND AGREED that all parties voluntarily
 agree to withdraw their respective Notices of Appeal previously filed in the Third Circuit, Case
 Nos. 19-1580, 19-1581 and 19-1689.


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        IT IS HEREBY FURTHER STIPULATED AND AGREED that this Stipulation may
 be executed in counterparts with scanned PDF or facsimile signatures treated as originals.


 Dated: June 11, 2020                                Dated: June 11, 2020


      /s/ Kevin Mann                                        /s/ Joseph C. O’Keefe
 Richard Cross, Esq.                                 Joseph C. O’Keefe, Esq.
 Kevin Mann, Esq.                                    Edna D. Guerrasio, Esq.
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